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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                Case No. 1:13-cr-00091-BLW
                      Plaintiff,
                                                MEMORANDUM DECISION AND
 v.                                             ORDER

 MARK A. ELLISON,

                      Defendant.




                                   INTRODUCTION

       Before the Court is a claim from Ronald Clark and Ruth Kieffer for decedent

Donald Kieffer’s remaining restitution from USA v. Ellison, et. al. For the reasons that

follow, the Court will deny both claims.

                                    BACKGROUND

       On April 14, 2014, the Jury returned a guilty verdict against Defendant Mark A.

Ellison on 44 counts of securities fraud. (Dkt. 502, 816.) A judgment of conviction was

entered on August 25, 2014, finding Ellison guilty on counts 4 – 13, 36- 45, 49-52, 56,

62, 67, 72 – 80, and 82 – 89 of the Superseding Indictment. (Dkt. 21, 724.) In addition to

a term of imprisonment and supervised release, the Court ordered Ellison to pay

$32,158,501.00 in restitution. Nov. 17, 2024, Restitution Order. (Dkt. 816.) As of

February 15, 2024, Ellison still owed $28,197,133.65 in restitution. (Dkt. 1054.)

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       The Court is tasked with distributing restitution payments deposited with the Court

to the victims. Unfortunately, since the 2014 judgment, many of the victims entitled to

restitution passed away and left unclaimed funds in possession of the Court.

As a result, the Clerk of the Court sent notice to individuals with a potential interest in the

unclaimed funds. In response, claimants Ronald Clarke and Ruth Kieffer submitted

requests to have the unclaimed restitution payments related to decedent Donald Kieffer

released to them. In support of their requests, the claimants submitted the following

documents: (1) victim affidavits; (2) a certified copy of the death certificate for Donald

Kieffer; and, (2) a copy of The Donald Kieffer Living Trust Dated January 31, 1990,

together with several amendments thereto, dated March 29, 1991.

                                   LEGAL STANDARD

       Although money paid to federal courts generally must be deposited with the

Treasury, courts are also allowed to deliver funds to their rightful owners. See 28

U.S.C. § 2041. Indeed, “[a]ny claimant entitled to any such money may, on petition to the

court and upon notice to the United States attorney and full proof of the right thereto,

obtain an order directing payment to him.” 28 U.S.C. § 2042. However, this means the

claimant “bears the burden of affirmatively establishing his entitlement to the funds[.]” In

re Pena, 974 F.3d 934, 940 (9th Cir. 2020); see also Hansen v. United States, 340 F.2d

142, 144 (8th Cir. 1965) (“the burden is upon the claimant to show his right to the

fund.”).




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                                         ANALYSIS

       Neither Ronald Clarke nor Ruth Kiefer have provided sufficient evidence to show

they are entitled to receive Donald Kieffer’s remaining restitution. The death certificate

for Donald Kieffer shows he passed away on September 4, 2012, as a resident of

Wisconsin, and that his spouse, Ruth Helen Koehler, aka Ruth Kieffer, was still living.

On January 31, 1990, Donald Kieffer, who was then residing in Arizona, executed The

Donald C. Kieffer Living Trust. He named Thomas Kieffer and Ronald Clarke as

successor co-trustees. However, Article 9.01 of the Trust indicates that Ronald Clarke

and Thomas Kieffer were to be co-trustees “as long as Ronald is married to Martha A.

Clarke (subject to their then acceptance in writing of such appointment).” Ronald Clarke

did not provide proof of written acceptance of appointment, nor did he provide proof that

he remains married to Martha A. Clarke. Moreover, Article 9.01 appears to be struck

through in its entirety. Therefore, it is unclear if Article 9.01 remains effective, and none

of the amendments to The Donald C. Kieffer Living Trust amend Article 9.01.

Furthermore, it is unclear if the unclaimed restitution is property of The Donald C.

Kieffer Living Trust because certain identified property related to the restitution in this

matter was transferred from the Donald C. Kieffer Living Trust to the Ruth H. Kieffer Q-

Tip Trust, as further explained below.

       Initially, The Donald C. Kieffer Living Trust Dated January 31, 1990, created a Q-

Tip Trust and Family Trust pursuant to Article 7.00. However, Sections 7.01 and 7.02 are

struck through in their entirety. On March 29, 1991, Donald Kieffer executed a Partial



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Revocation of The Donald C. Kieffer Living Trust, with respect to the following defined

property:

       DBSI Housing Inc.
       1070 North Curtis Road, Suite 270
       Boise, Idaho 83706

       DBSI/TRI Limited Partnership Units for:
       Limited Partnership XIX
       Limited Partnership XXI
       Limited Partnership XXIV
       Limited Partnership XXV

       Also on March 29, 1991, Donald Kieffer, as Trustor, and Donald Kieffer and Ruth

Kieffer as co-trustees, executed The Ruth H. Kieffer Q-Tip Trust Agreement. In

conjunction with the creation of the Q-Tip trust, on March 29, 1991, Donald Kieffer

executed a Gift of Property to the Ruth H. Kieffer Q-Tip Trust Dated March 29, 1991,

transferring the following property:

       DBSI Housing Inc.
       1070 North Curtis Road, Suite 270
       Boise, Idaho 83706

       DBSI/TRI Limited Partnership Units for:
       Limited Partnership XIX
       Limited Partnership XXI
       Limited Partnership XXIV
       Limited Partnership XXV

       By letter dated April 1, 1991, Ronald Kieffer confirmed that, with respect to the

above property, he distributed the Units to himself from the Donald C. Kieffer Living

Trust Dated January 31, 1990, and in turn gifted the Units to the Ruth H. Kieffer Q-Tip

Trust Dated March 29, 1991. Pursuant to the terms of the Ruth H. Kieffer Q-Tip Trust, if

Donald Kieffer ceased to act as trustee, then Ronald Clarke shall act as trustee, but only

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“as long as he is married to Martha A. Clarke and if he is not then Martha A. Clarke shall

act as trustee.”

        First, the Court has not been presented with sufficient evidence indicating whether

the unclaimed restitution constitutes property of the Q-Tip Trust. The Court has no

evidence before it that the restitution constitutes proceeds or funds attributable to one of

the identified Partnership Units.

        Moreover, Ronald Clarke, as successor trustee of the Ruth H. Kieffer Q-Tip Trust

would not be the appropriate recipient of the funds. Ronald Clarke was named as

successor trustee for Donald Kieffer, but only so long as he remained married to Martha

Clarke. Ronald did not provide proof of his marital status, and thus has not sufficiently

established he is the co-trustee of the Ruth H. Kieffer Q-Tip Trust Dated March 29, 1991.

However, if the restitution is property of the Q-Tip Trust, Ruth Kieffer, as co-trustee,

would be entitled to receive the funds and distribute them in accordance with the terms of

the Trust.

        Because several factual uncertainties exist as to Ronald Clarke’s authority to

administer either trust, and whether the restitution is property of the Donald C. Kieffer

Living Trust or the Q-Tip trust such that Ruth Kieffer, as trustee, would be entitled to

receive the same, the Court is unable to legally determine whether Ronald Clarke or Ruth

Kieffer are entitled to receive the unclaimed restitution. 1 As such, the claims of both




1
  Both Ronald and Ruth are free to reassert their claims provided they produce evidence consistent with
this order.
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Ronald Clark and Ruth Kieffer will be denied without prejudice, and the unclaimed

restitution of Donald Kieffer will be deposited with the Treasury.

                                        ORDER

       NOW THEREFORE IT IS HEREBY ORDERED:

   1) The claims of both Ronald Clarke and Ruth Kieffer for the unclaimed restitution

       payments of Donald Kieffer from USA v. Ellison, et. al., is DENIED WIHTOUT

       PREJUDICE.

   2) The Clerk of the Court shall deposit the unclaimed funds of Donald Kieffer with

       the Treasury.



                                                 DATED: June 24, 2024


                                                 _________________________
                                                 B. Lynn Winmill
                                                 U.S. District Court Judge




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